Case 2:21-cv-00326-SMJ   ECF No. 29-1   filed 03/12/22   PageID.1074 Page 1 of 33




                         EXHIBIT A
         Case 2:21-cv-00326-SMJ             ECF No. 29-1     filed 03/12/22      PageID.1075 Page 2 of 33


Drake, John (USAWAE)

From:                Drake, John (USAWAE)
Sent:                Friday, February 25, 2022 3:39 PM
To:                  James Pistorino
Cc:                  Donovan, Brian (USAWAE); Roger Townsend
Subject:             RE: FW: [EXTERNAL] Nancy Kidwell has invited you to work together in "ADMINISTRATIVE
                     RECORD.zip" file on Box
Attachments:         October 2021 MSN & July 2021 Remittance Notice.pdf


James,

Respectfully, your comment about the docket not reflecting “compliance with the statute” is incorrect. The statute
you’re referencing, 42 U.S.C. § 405(g), provides for judicial review after a “final decision” by the agency. Because there
was no “final decision” as to the March 10, 2021 claim, the statutory requirement to file an administrative record of that
(non‐final) decision was not triggered.

With that said, I have no interest in fighting about this. If you feel strongly about having an administrative record
prepared for the March 10, 2021 claim, we will put one together. All I would ask in return is that you agree (in response
to this email is fine) that we are not waving any applicable defenses by preparing and filing an administrative record for
the March 10, 2021 claim. I think that’s a reasonable compromise that will allow us to keep things moving forward.

As to the payment issue, I have some additional information to share. We received a remittance notice from the
Medicare Administrative Contractor, Noridian Healthcare Solutions, which, as far as I can tell, shows that both claims at
issue in this lawsuit – the April 19 ‐ July 18, 2019 claim and the March 10, 2021 claim – were paid in July 2021. Please
take a look at the attached PDF. There is an MSN to Mr. Olsen dated 10/1/21, and a remittance notice to MiniMed
Distribution Corp. dated 07/20/21. I highlighted the claim numbers in the MSN and the corresponding payments in the
remittance notice.

Unless I’m misreading something, both claims were paid in July 2021. Was Mr. Olsen aware of that at the time he was
pursuing his administrative appeals? At the time he filed this lawsuit? I think that changes the complexion of this case
somewhat. Perhaps we could carve out some time to talk next week. My calendar is relatively clear on Monday and
Tuesday. Please let me know what might work best for you.

John

                    John T. Drake
                    Assistant U.S. Attorney
                    United States Attorney’s Office
                    Eastern District of Washington
                    920 West Riverside Avenue | Suite 340
                    P.O. Box 1494 | Spokane WA 99201
                    Direct: (509) 835-6347
                    Cell: (509) 481-5665




From: James Pistorino <james.pistorino@gmail.com>
Sent: Thursday, February 24, 2022 10:59 PM
To: Drake, John (USAWAE) <JDrake@usa.doj.gov>; Donovan, Brian (USAWAE) <BDonovan@usa.doj.gov>;
rtownsend@bjtlegal.com
                                                            1
          Case 2:21-cv-00326-SMJ          ECF No. 29-1         filed 03/12/22      PageID.1076 Page 3 of 33

Subject: Re: FW: [EXTERNAL] Nancy Kidwell has invited you to work together in "ADMINISTRATIVE RECORD.zip" file on
Box

John,

I am traveling but wanted to get back to you.

With regard to today's filing, the docket reflected compliance with the statute and that was not correct. If you produce
the complete Record promptly, great. In the meantime, the docket is now accurate.

With regard to the Record, if you fail/refuse to produce it, Mr. Olsen will respond accordingly. In an effort to avoid yet
more motion practice, I note that your position does not make sense and is also not consistent with the law.

First, both the DAB and ALJ Earnhart's decision concern the same denied claims. Thus, the initial denial and
redetermination that are missing from the Record for the DAB decision, e.g., are the same materials that are missing for
ALJ Earnhart's decision. The produced Record contains the DAB decision (as well as my letter brief) but not ALJ
Earnhart's. Thus, your position with respect to ALJ Earnhart does not even make sense.

Second, the Record comprises all the materials considered by and exchanged with the Department. That you contend
there is no final decision has no bearing on whether there is a Record or not. Respectfully, your contention that filing
the Record is barred by 405(g) is without basis.

As in other areas, I encourage you to consider whether this is really an issue the Secretary wants to present to Judge
Mendoza.

Finally, I will have to check when I get back, but I think you are correct about payment. As I say. I do not believe that
that MSN is in the Record.

Regards,
James


On Thu, Feb 24, 2022, 5:12 PM James Pistorino <james@dparrishlaw.com> wrote:


 From: Drake, John (USAWAE) <John.Drake2@usdoj.gov>
 Sent: Thursday, February 24, 2022 8:11:39 PM (UTC-05:00) Eastern Time (US & Canada)
 To: James Pistorino <james@dparrishlaw.com>; Roger Townsend <rtownsend@bjtlegal.com>
 Cc: Donovan, Brian (USAWAE) <Brian.Donovan@usdoj.gov>; Debra Parrish <debbie@dparrishlaw.com>
 Subject: RE: [EXTERNAL] Nancy Kidwell has invited you to work together in "ADMINISTRATIVE RECORD.zip" file on
 Box

 James,



 I mentioned yesterday that I planned to get back to you on the administrative record issue by the end of the day
 today. Regrettably, you chose to file a “Notice of Incomplete Administrative Record” (ECF No. 19), at 11:28 a.m. this
 morning, before I could get back to you. We’ll be filing a response to that notice within the next couple of days.




                                                              2
                                           Case 2:21-cv-00326-SMJ                                                                                                                                          ECF No. 29-1   filed 03/12/22   PageID.1077 Page 4 of 33

In the meantime, here is the answer to your question. The Administrative Record does not include documents related
to Mr. Olsen’s March 10, 2021 claim because there was no final agency action on that claim. As you know, ALJ Jason
Earnhart issued a Notice of Decision on the March 10, 2021 claim on October 26, 2021. Mr. Olsen did not appeal that
decision to the Medicare Appeals Council. As a result, no final agency action was taken, and no administrative record
can be issued under 42 U.S.C. § 405(g).



To be clear, we have no objection to you putting documents related to the March 10, 2021 claim in the court record
(via declaration or otherwise). We simply cannot include them in the AR because 42 U.S.C. § 405(g) prohibits that in
the absence of a final agency decision.



I do have one related question for you. It’s my understanding that the March 10, 2021 claim referenced in Paragraphs
67‐90 of the Complaint was paid by the agency, and that that payment is reflected in the Medicare Summary Notice
dated October 1, 2021 (see screen shot below). Is that your understanding as well? I want to make sure we don’t have
our wires crossed on that.



       The link ed image cannot be display ed. The file may hav e been mov ed, renamed, or deleted. Verify that the link points to the correct file and location.




John



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                                                                                                                                                                                        John T. Drake
                                                                                                                                                                                        Assistant U.S. Attorney

                                                                                                                                                                                        United States Attorney’s Office
                                                                                                                                                                                        Eastern District of Washington


                                                                                                                                                                                                                          3
::i,                    Case 2:21-cv-00326-SMJ                      ECF No. 29-1       filed 03/12/22    PageID.1078 Page 5 of 33
                                                                                                                            Page 1 of 13
! ,.       0, ~ ~ · · ' }    Medicare Summary Notice
       (      ~ for Part B (Medical Insurance)
        '<"1,,~.., l ~ ~     The Official Summary of Your Medicare Claims from the Centers for Medicare & Medicaid Services                  Fi   ~

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                    1   1   11

                 KAREN OLSEN FOR
                                 1          111                         1

                                                                                  18                    This Is Not A Bill                         ~
                 JEREMY OLSEN




        Notice for Jeremy Olsen                                                        Your Claims & Costs This Period
                                                                                       Did Medicare Approve All Items and             NO
        Medicare Number
                                                                                       Services?
        Date of This Notice                  October 1, 2021
                                                                                       Number of Items or Services Medicare              2
        Claims Processed                     July 3-
                                                                                       Denied
        Between                              October 1, 2021
                                                                                       See claims starting on page 3. Look for NO in the
                                                                                       "Item/Service Approved?" column. See the
       Your Deductible Status                                                          last page for how to handle a denied claim.
       Your deductible is what you must pay for most health
       services before Medicare begins to pay.                                         Total You May Be Billed                $8,392.88

       Part B Deductible:
                                                                                       Suppliers with Claims This Period

                                                                                       March 15, 2018 - July 20, 2021
                                                                                       Minimed Distribution Corp

       Be Informed!                                                                    June 16 - September 11, 2021
                                                                                       Walgreens #2205
       Medicare Open Enrollment is from October 15 to
       December 7. You can compare and change your
       health and drug plan coverage. If you like your
       current plan, you don't have to do anything. Call
       1-800-MEDICARE (1-800-633-4227) for more
       information.




       lSabia que puede recibir este aviso y otro tipo de ayuda de Medicare en espaflol? Llame y hable con un agente en espaflol.
       -.kri*t"*OO -i¾{fuJJ, iffk1£,**~IK,ty 1%&, itA.it "agent" , t.troit "Mandarin".                1-800-MEDICARE (1-800-633-4227)
::i,              Case 2:21-cv-00326-SMJ         ECF No. 29-1   filed 03/12/22     PageID.1079 Page 6 of 33
i Jeremy Olsen                                                                  THIS IS NOT A BILL I Page 2 of 13


       Making the Most of Your Medicare
        la How to Check This Notice                             ~ Your Messages from Medicare
        Do you recognize the name of each supplier?             Early detection is your best protection. Schedule
        Check the dates. Did you make a purchase
                                                                                                                             -
                                                                                                                             00
                                                                your mammogram today, and remember that
        that day?                                               Medicare helps pay for screening mammograms.
        Did you get the items/services listed? Do they          You can now get your Medicare Summary Notices
        match those listed on your receipts and bills?          (MSNs) online! Receive your electronic MSNs
                                                                (eMSNs) every month by signing up at
        If you already paid the bill, did you pay the           https:/www.medicare.gov/forms-help-resources/go-paperless.
        right amount? Check the maximum you may be
        billed. See if the claim was sent to your Medicare      Medicare cares about your health. If you've had
                                                                trouble remembering things, concentrating, or
        supplement insurance (Medigap) plan or other
                                                                making everyday decisions, Medicare Part B covers
        insurer. That plan may pay your share.                  a visit with your doctor or a specialist to talk about
                                                                it and do an exam.

       CJ How to Report Fraud                                   It's time for your flu shot! People 65 years and up
                                                                are at a high risk for serious complications from the
       If you think a supplier or business is involved in       flu. Medicare covers the flu shot. You pay nothing if
       fraud, call us at 1-800-MEDICARE (1-800-633-4227).       your provider accepts Medicare.
       Some examples of fraud include offers for free
       medical services or billing you for Medicare services
       you didn't get. If we determine that your tip led to
       uncovering fraud, you may qualify for a reward.
       Don't get scammed by phones calls, ads, and
       people who come door-to-door offering you free
       or cheap Medicare items and services! Only trust
       Medicare-approved suppliers and doctors!

       II How to Get Help with Your Questions
       1-800-MEDICARE (1-800-633-4227)
       Ask for "medical supplies." Your customer-service
       code is 19003.
       TTY 1-877-486-2048 (for hearing impaired)
       Contact your State Health Insurance Program (SHIP)
       for free, local health insurance counseling. Call
       1-800-562-6900.
::i,                   Case 2:21-cv-00326-SMJ                            ECF No. 29-1                   filed 03/12/22                 PageID.1080 Page 7 of 33
i Jeremy Olsen                                                                                                                    THIS IS NOT A BILL I Page 3 of 13


       Your Claims for Part B {Medical Insurance)
       Part B Medical Insurance helps pay for durable                                                amount as full payment for covered items or                                                       111
       medical equipment and other health care services.                                             services. Medicare usually pays 80% of the
                                                                                                     Medicare-approved amount.
       Definitions of Columns
                                                                                                     Amount Medicare Paid: This is the amount
       Item/Service Approved?: This column tells you if                                              Medicare paid the supplier. This is usually
       Medicare covered this item or service.                                                        80% of the Medicare-approved amount.
       Amount Supplier Charged: This is your supplier's                                              Maximum You May Be Billed: This is the total
       fee for the item or service.                                                                  amount the supplier is allowed to bill you and can
       Medicare-Approved Amount: This is the amount a                                                include a deductible, coinsurance, and other
       supplier can be paid for a Medicare item or service.                                          charges not covered. If you have Medicare
       It may be less than the actual amount the supplier                                            Supplement Insurance (Medicap policy) or other
       charged. Your supplier has agreed to accept this                                              insurance, it may pay all or part of this amount.


          March 15, 2018
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                          Item/                  Amount             Medicare-               Amount                Maximum             See
       Quantity, Item/Service Provided                                  Service                  Supplier           Approved               Medicare                You May            Notes
       & Billing Code                                                Approved?                   Charged             Amount                    Paid                Be Billed          Below


       90 Durable medical equipment,                                         Yes- $1,659.00 $1,659.00 $1,300.66                                                    $331.80
       !:'2!~~~.~!~.':!~9.~.~..~~.~.~2?.:~~S.9 .......................   adjusted ........................................................................ .........................................
       Total for Claim# 18137823767001                                                $1,659.00 $1,659.00 $1,300.66                                                $331.80 A,B


                                                                                                                                                           -----                       Continued->




       ------------------------------------■i-Mii:l'M·E
       Notes for Claims Above

       A This is a correction to a previously processed claim and/or deductible record.

       B After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
         Federal, State and local rules.
::i,                    Case 2:21-cv-00326-SMJ                            ECF No. 29-1                   filed 03/12/22                 PageID.1081 Page 8 of 33
i Jeremy Olsen                                                                                                                    THIS IS NOT A BILL I Page 4 of 13


         June 5, 2018
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                           Item/                  Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                   Service                  Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                 Approved?                   Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes-         $1,659.00            $1,659.00 $1,300.66                            $331.80
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................   adjusted........................................................................ .........................................
       Total for Claim# 18172844803001                                                $1,659.00 $1,659.00 $1,300.66                                                $331.80 C,D




          September 27, 2018
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                           Item/                  Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                   Service                  Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                 Approved?                   Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes-         $1,659.00            $1,659.00 $1,300.66                            $331.80
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................   adjusted........................................................................ .........................................
       Total for Claim # 18283843973001                                               $1,659.00 $1,659.00 $1,300.66                                                $331.80 C,D


                                                                                                                                                           -----                       Continued->




       ------------------------------------■
       Notes for Claims Above
                                             i-Mii:l'M·E
       C This is a correction to a previously processed claim and/or deductible record.

       D After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
         Federal, State and local rules.
::i,                    Case 2:21-cv-00326-SMJ                                      ECF No. 29-1                      filed 03/12/22                    PageID.1082 Page 9 of 33
i Jeremy Olsen                                                                                                                                    THIS IS NOT A BILL I Page 5 of 13


         January 4, 2019
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
                                                                                                                                                                                                                             ~   ~

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                                                                                                                                                                                                                                 ""'0
         Ordered by Jennifer L Jones                                                                                                                                                                                             ""

                                                                                        Item/                 Amount               Medicare-                 Amount                  Maximum               See
                                                                                                                                                                                                                                  -
                                                                                                                                                                                                                                 00


       Quantity, Item/Service Provided                                                Service                 Supplier             Approved                 Medicare                  You May              Notes
       & Billing Code                                                              Approved?                  Charged               Amount                      Paid                  Be Billed            Below                  ~
       90 Durable medical equipment,                                                         Yes-         $1,659.00               $1,659.00 $1,300.66                         $331.80
       !:'2!~~~.~!~.i:!~~~.~..~~.~.~~?.:~~S.9 .......................              adjusted ........................................................................ ........................................ .
       Total for Claim# 19008817632001                                                           $1,659.00 $1,659.00 $1,300.66                                                $331.80 E,F




         April 19 - July 18, 2019
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                                        Item/                 Amount               Medicare-                 Amount                  Maximum               See
       Quantity, Item/Service Provided                                                Service                 Supplier             Approved                 Medicare                  You May              Notes
       & Billing Code                                                              Approved?                  Charged               Amount                      Paid                  Be Billed            Below


       90 Durable medical equipment,                                                   Yes-               $1,824.90               $1,824.90 $1,430.72                                  $364.98
       miscellaneous (El 399-GXCC)                                                 adjusted

                                                                                       Yes-                     128.70                    81.60                  63.97                       16.32
                                                                                   adjusted


                                                                                       Yes-                     458.70                  263.51                 206.59                        52.70
                                                                                   adjusted
                   ............................................................................................................................................................ .......................... ...............
       Total for Claim # 19112897095001                                                                   $2,412.30                $2,170.01             $1,701.28                     $434.00 E,F


                                                                                                                                                                             -----                          Continued->




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       Notes for Claims Above
                                             i'Mii:l'M·E
       E This is a correction to a previously processed claim and/or deductible record.

       F After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
         Federal, State and local rules.
::i,                   Case 2:21-cv-00326-SMJ                         ECF No. 29-1                      filed 03/12/22                 PageID.1083 Page 10 of 33
i Jeremy Olsen                                                                                                                    THIS IS NOT A BILL I Page 6 of 13


         July 8, 2019
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                           Item/                  Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                   Service                  Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                 Approved?                   Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes - $1,824.90                   $1,824.90 $1,430.72                            $364.98
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................   adjusted........................................................................ .........................................
       Total for Claim# 19210873889001                                                $1,824.90 $1,824.90 $1,430.72                                                $364.98 G,H




         October 21, 2019
         Minimed Distribution Corp, (800)646-4633
         18000 Devonshire St, Northridge, CA 91325-1219
         Ordered by Jennifer L Jones

                                                                           Item/                  Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                   Service                  Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                 Approved?                   Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes - $1,824.90                   $1,824.90 $1,430.72                            $364.98
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................   adjusted........................................................................ .........................................
       Total for Claim # 19296845388001                                               $1,824.90 $1,824.90 $1,430.72                                                $364.98 G,H


                                                                                                                                                           -----                       Continued->




       ------------------------------------■
       Notes for Claims Above
                                             i-Mii:l'M·E
       G This is a correction to a previously processed claim and/or deductible record.

       H After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
         Federal, State and local rules.
::i,                    Case 2:21-cv-00326-SMJ                              ECF No. 29-1                  filed 03/12/22               PageID.1084 Page 11 of 33
i Jeremy Olsen                                                                                                                     THIS IS NOT A BILL I Page 7 of 13


          January 28, 2020
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                                 Item/              Amount            Medicare-             Amount               Maximum             See
       Quantity, Item/Service Provided                                         Service              Supplier          Approved             Medicare               You May            Notes
       & Billing Code                                                       Approved?               Charged            Amount                  Paid               Be Billed          Below


       90 Durable medical equipment,                                                 Yes - $1,824.90                 $1,824.90 $1,430.72                            $364.98
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 ....................... adjusted........................................................................ .........................................
       Total for Claim # 20031822855001                                                         $1,824.90             $1,824.90 $1,430.72                           $364.98 l,J




          May 15, 2020
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                                 Item/              Amount            Medicare-             Amount               Maximum             See
       Quantity, Item/Service Provided                                         Service              Supplier          Approved             Medicare               You May            Notes
       & Billing Code                                                       Approved?               Charged            Amount                  Paid               Be Billed          Below


       90 Durable medical equipment,                                                 Yes - $1,824.90                 $1,824.90 $1,459.92                            $364.98
       !:'2!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 ....................... adjusted........................................................................ .........................................
       Total for Claim # 20139845927001                                                         $1,824.90             $1,824.90 $1,459.92                           $364.98


                                                                                                                                                           -----                     Continued->




       ------------------------------------■
       Notes for Claims Above
                                             i-Mii:l'M·E
           This is a correction to a previously processed claim and/or deductible record.

       J After your deductible and coinsurance were applied, the amount Medicare paid was reduced due to
         Federal, State and local rules.
::i,                   Case 2:21-cv-00326-SMJ                            ECF No. 29-1                   filed 03/12/22                 PageID.1085 Page 12 of 33
i Jeremy Olsen                                                                                                                    THIS IS NOT A BILL I Page 8 of 13


          August 12, 2020
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                              Item/               Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                      Service               Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                    Approved?                Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes - $1,824.90                   $1,824.90 $1,459.92                            $364.98
       T.!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................     adjusted........................................................................ .........................................
       Total for Claim# 20230855617001                                                $1,824.90 $1,824.90 $1,459.92                                                $364.98 K




          November 23, 2020
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                              Item/               Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                      Service               Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                    Approved?                Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes - $1,824.90                   $1,824.90 $1,459.92                            $364.98
       T.!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 .......................     adjusted........................................................................ .........................................
       Total for Claim # 20330841967001                                               $1,824.90 $1,824.90 $1,459.92                                                $364.98 K




          March 10, 2021
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                              Item/               Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                      Service               Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                    Approved?                Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                              Yes - $1,824.90                   $1,824.90 $1,459.92                             $364.98
       T.!~~~.~!~.i:!~9.~.~..~~.~.?.~?.:~~S.9 ....................... adjusted........................................................................
                                                                                                                                        .........................................
       Total for Claim# 21076836253001                                                        $1,824.90             $1,824.90 $1,459.92         $364.98 K


                                                                                                                                                           -----                       Continued->



       ---------------------------------■
       Notes for Claims Above
                                          i'Mii:l'M·E
       K This is a correction to a previously processed claim and/or deductible record.
::i,                     Case 2:21-cv-00326-SMJ                               ECF No. 29-1                   filed 03/12/22                PageID.1086 Page 13 of 33
i Jeremy Olsen                                                                                                                         THIS IS NOT A BILL I Page 9 of 13


          March 10, 2021
          Minimed Distribution Corp, (800)646-4633                                                                                                                                                        lj-=   ~

                                                                                                                                                                                                                 :::
          18000 Devonshire St, Northridge, CA 91325-1219                                                                                                                                                         ""'0
          Ordered by Jennifer L Jones                                                                                                                                                                            "'

                                                                                   Item/              Amount             Medicare-              Amount                Maximum             See
                                                                                                                                                                                                                  -
                                                                                                                                                                                                                 00


       Quantity, Item/Service Provided                                           Service              Supplier           Approved              Medicare                You May            Notes
       & Billing Code                                                         Approved?               Charged             Amount                   Paid                Be Billed          Below                   ~
       90 Sensor; invasive (e.g.,                                             NO $1,824.90                               $0.00                 $0.00             $1,824.90 L
       subcutaneous), disposable, for
       use with interstitial continuous
       glucose _moni_ (A9276) .........................................................................................................................................................................
       Total for Claim# 21195828237000                                                   $1,824.90                       $0.00                 $0.00             $1,824.90




          June 16- September 11, 2021
          Walgreens #2205, (509)466-7461
          12315 Highway 395, Spokane, WA 99218-1951
          Ordered by Jennifer L Jones

                                                                                   Item/              Amount             Medicare-              Amount                Maximum             See
       Quantity, Item/Service Provided                                           Service              Supplier           Approved              Medicare                You May            Notes
       & Billing Code                                                         Approved?               Charged             Amount                   Paid                Be Billed          Below


                                                                                         Yes          $524.92                 $58.24              $46.59                   $11.65


                                  ......................................................................................................................................................
       Total for Claim# 21187806040000                                        $524.92                   $58.24                $46.59                     $11.65

                                                                                                                                                               -----      Continued->




       ---------------------------------■
       Notes for Claims Above
                                          i'Mii:l'M·E
       L Medicare does not pay for this item or service.
Case 2:21-cv-00326-SMJ   ECF No. 29-1   filed 03/12/22   PageID.1087 Page 14 of 33




                                                                               1
::i,                   Case 2:21-cv-00326-SMJ                           ECF No. 29-1                   filed 03/12/22                 PageID.1088 Page 15 of 33
i Jeremy Olsen                                                                                                                 THIS IS NOT A BILL I Page 11 of 13


          July 20, 2021
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                             Item/               Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                     Service               Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                   Approved?                Charged             Amount                   Paid                Be Billed           Below


       90 Durable medical equipment,                                             Yes -        $1,824.90            $1,824.90 $1,459.92                            $364.98
       !:'2!~~~.~!~.i:!~~~.~..~~.~.~~?.:~~S.9 .......................    adjusted........................................................................ .........................................
       Total for Claim# 21204829122001                                               $1,824.90 $1,824.90 $1,459.92                                                $364.98 M




          July 20, 2021
          Minimed Distribution Corp, (800)646-4633
          18000 Devonshire St, Northridge, CA 91325-1219
          Ordered by Jennifer L Jones

                                                                             Item/               Amount             Medicare-              Amount                Maximum              See
       Quantity, Item/Service Provided                                     Service               Supplier           Approved              Medicare                You May             Notes
       & Billing Code                                                   Approved?                Charged             Amount                   Paid                Be Billed           Below


       90 Sensor; invasive (e.g.,                                         NO $1,824.90                               $0.00                 $0.00             $1,824.90 N
       subcutaneous), disposable, for
       use with interstitial continuous
       glucose .moni. (A9276-GX) ..................................................................................................................................................................
       Total for Claim# 21204829122000                                               $1,824.90                       $0.00                  $0.00            $1,824.90

                                                                                                                                                          -----                      Continued->




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       Notes for Claims Above
                                          i'Mii:l'M·E
       M This is a correction to a previously processed claim and/ or deductible record.

       N Medicare does not pay for this item or service.
::i,                     Case 2:21-cv-00326-SMJ                                 ECF No. 29-1                   filed 03/12/22                 PageID.1089 Page 16 of 33
i Jeremy Olsen                                                                                                                          THIS IS NOT A BILL I Page 12 of 13


          July 29, 2021
          Walgreens #2205, (509)466-7461
          12315 Highway 395, Spokane, WA 99218-1951
          Ordered by Sean I Sanchez

                                                                                     Item/               Amount              Medicare-              Amount                Maximum              See               00


       Quantity, Item/Service Provided                                             Service               Supplier            Approved              Medicare                You May             Notes
       & Billing Code                                                           Approved?                Charged              Amount                   Paid                Be Billed           Below


                                                                                           Yes             $16.00                $16.00               $12.80                     $3.20




                                                                                           Yes               12.69                   2.10                 1.68                      0.42

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       Total for Claim# 21216808928000                                                                $28.69                   $18.10                 $14.48                      $3.62
                                                                                                                                                                                               Jeremy

                                                                                                                                                                   -----                       Olsen
::i,             Case 2:21-cv-00326-SMJ          ECF No. 29-1   filed 03/12/22      PageID.1090 Page 17 of 33
i Jeremy Olsen                                                                  THIS IS NOT A BILL I Page 13 of 13


       How to Handle Denied Claims or File an Appeal
                                                                                                                     w~~
                                                                                                                     ~

       Get More Details                                         File an Appeal in Writing
       If a claim was denied, call or write the supplier        Follow these steps:
       and ask for an itemized statement for any claim.
       Make sure they sent in the right information. If they    1 Circle the item(s) or claim(s) you
       didn't, ask the supplier to contact our claims office      disagree with on this notice.
       to correct the error. You can ask the supplier for an
                                                                2 Explain in writing why you disagree with the
       itemized statement for any item or claim.
                                                                  decision. Include your explanation on this
       Call 1-800-MEDICARE (1-800-633-4227) for more              notice or, if you need more space, attach a
       information about a coverage or payment decision           separate page to this notice.
       on this notice, including laws or policies used to
                                                                3 Fill in all of the following:
       make the decision.
                                                                  Your or your representative's full name (print)
       If You Disagree with a Coverage
       Decision, Payment Decision, or Payment
       Amount on this Notice, You Can Appeal                      Your telephone number

       Appeals must be filed in writing. Use the form to
                                                                  I I I I I I I I l~l~I~II
       the right. Our claims office must receive your             Your complete Medicare number
       appeal within 120 days from the date you get this
       notice.
       We must receive your appeal by:                          4 Include any other information you have
       I      February 3, 2022        I                           about your appeal. You can ask your supplier
                                                                  for any information that will help you.
       If You Need Help Filing Your Appeal                      5 Write your Medicare number on all
       Contact us: Call 1-800-MEDICARE or your State              documents that you send.
       Health Insurance Program (see page 2) for help
       before you file your written appeal, including help      6 Make copies of this notice and all supporting
       appointing a representative.                               documents for your records.

       Call your supplier: Ask your supplier for any            7 Mail this notice and all supporting
       information that may help you.                             documents to the following address:

       Ask a friend to help: You can appoint someone,              Medicare Claims Office
       such as a family member or friend, to be your               c/o Noridian Healthcare Solutions, LLC
       representative in the appeals process.                      Attn: Appeals Dept
                                                                   P. 0. Box 6727
       Find Out More About Appeals                                 Fargo, ND 58108-6727
       For more information about appeals, read your
       "Medicare & You" handbook or visit us online at
       www.medicare.gov/appeals.
Case 2:21-cv-00326-SMJ      ECF No. 29-1     filed 03/12/22   PageID.1091 Page 18 of 33




As you think about the, health and drug plan coverag,e that best me,ets your ne,eds,
there are some new things to conside,r this yeair. And, now that it's flllu season,. an
important reminder to take action to p,rotect you1rsellf a1nd l oved ones.


,Get your flu shot

This year it's more iimportant than ever to get a flu shot. People who are '65 and
older are ait high risk of having serious complicatiions from the flu . Getting the flu
shot p,rotects you from getting the flu and keeps you fr,om sprea1diing it to oth,ers.

Lowe·r •out-of-p,ock.et costs Jor insuli'n
llf you take insulin and join a Medicare pllan that participaites in the "Part [) Sen~or
.Savings. Model/' you could sav,e hundreds of dolllars each year in out-of-pocket
costs for insulin.
T,elehealth & other virtual services
Telllehieailth benefits. aHow you to get medicall or health services that genera1lly
occur in-person (lli ke office visits and consultations.) from a doctor 01r other health
care provider who's located els,ewhere using rea l -time inte1   raictive audiio and video
technology.. Medicare allso covers certain vhtual services, l ike E-viisits and Virtual
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Medicare Advantage & End-Stage Renal Diseas·e (ESRD)
llf you have ES.RD, now you can join a M,edicare Advantage Plan October 1.5 -
December 7.. Your 1  plan cov,erage willl start January 1, 2021.
,Get help with ·your Medicar,e covera.ge ,choices
V1
 isit Medicare.gov/pllan-cornp.a1re to shop for and compar,e heallt h and drug plains.
You ca1n also enter your drugs to get more, accurate costs for plans i n yo,u r area.
·Comp,are health car,e pro·vide,rs & service.s

V1iisit Medicare.gov to find and compare doctors, hospita s., nursing homes, and
other health care services near you. Now you can get contact information,. qua ity
ratings, and other information in a singlle place.
Case 2:21-cv-00326-SMJ                         ECF No. 29-1                filed 03/12/22           PageID.1092 Page 19 of 33



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{] - 00-633-4227 ) pillra obtener mas infonnadon. Lo:, asuario:, de TTY pll:ed n llamar a] 1- 77 86-1048.



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 Case 2:21-cv-00326-SMJ                        ECF No. 29-1                filed 03/12/22            PageID.1093 Page 20 of 33



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                              Recei ve your remi ttance advi ces electroni cally. You wi ll recei ve payment i nf ormati on faster
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                              avai lable to vi ew and pri nt remi ttance data . call CEDI at 1-866-3ll-9184 to s i gn up.




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PERF PROV   SERV DATE   POS   NOS   PROC   MODS    BILLED     ALLOWED   DEDUCT   COINS   GRP/RC-AMT   PROV PD
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            NAME OLSEN, JEREMY            MID XXXXX1533A      ACNT 03I12548883-2          ICN 18172844803001   ASG Y   MOA MA67

            1356334577 0605 060518 12     90.0 E1399 GXCC          1659.00      1659.00     0.00   331.80 CO-253    26.54    1300.66
            PT RESP            331.80            CLAIM TOTALS      1659.00     1659.00      0.00     331.80          26.54     1300.66
            ADJ TO TOTALS: PREV PD         0.00      INTEREST         0.00                LATE FILING CHARGE     0.00    NET       1300.66

            NAME OLSEN, JEREMY            MID XXXXX1533A      ACNT 03I13196476-2          ICN 18283843973001   ASG Y   MOA MA67

            1356334577 0927 092718 12     90.0 E1399 GXCC          1659.00      1659.00     0.00   331.80 CO-253    26.54    1300.66
            PT RESP            331.80            CLAIM TOTALS      1659.00     1659.00      0.00     331.80          26.54     1300.66
            ADJ TO TOTALS: PREV PD         0.00      INTEREST         0.00                LATE FILING CHARGE     0.00    NET       1300.66
          Case
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PERF PROV   SERV DATE   POS   NOS   PROC    MODS       BILLED     ALLOWED    DEDUCT    COINS      GRP/RC-AMT      PROV PD

NAME OLSEN, JEREMY            MID XXXXX1533A    ACNT 03I13683553-2           ICN 19008817632001   ASG Y   MOA MA67

1356334577 0104 010419 12     90.0 E1399 GXCC         1659.00      1659.00     0.00   331.80 CO-253    26.54    1300.66
PT RESP            331.80            CLAIM TOTALS     1659.00     1659.00      0.00     331.80          26.54     1300.66
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET       1300.66

NAME OLSEN, JEREMY            MID XXXXX1533A    ACNT 03I14247879-4           ICN 19112897095001   ASG Y   MOA MA67

                                                      458.70       263.51      0.00  52.70 CO-45     195.19     206.59
                                                                                            CO-253     4.22
                                                      128.70         81.60   0.00    16 32 CO-45      47.10      63.97
                                                                                            CO-253     1.31
1356334577 0419 041919 12      90.0 E1399 GXCC        1824.90      1824.90   0.00   364.98 CO-253     29.20    1430.72
PT RESP            434.00             CLAIM TOTALS    2412.30     2170.01    0.00     434.00          277.02     1701.28
ADJ TO TOTALS: PREV PD        270.56      INTEREST       0.00              LATE FILING CHARGE      0.00    NET       1430.72

NAME OLSEN, JEREMY            MID XXXXX1533A    ACNT 03I14759291-2           ICN 19210873889001   ASG Y   MOA MA67

1356334577 0708 070819 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98 CO-253    29.20    1430.72
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98          29.20     1430.72
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET       1430.72

NAME OLSEN, JEREMY            MID XXXXX1533A    ACNT 03I15209964-2           ICN 19296845388001   ASG Y   MOA MA67

1356334577 1021 102119 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98 CO-253    29.20    1430.72
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98          29.20     1430.72
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET       1430.72

NAME OLSEN, JEREMY            MID 2G85C49QH63   ACNT 03I15704226-2           ICN 20031822855001   ASG Y   MOA MA67

1356334577 0128 012820 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98 CO-253    29.20    1430.72
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98          29.20     1430.72
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET       1430.72

NAME OLSEN, JEREMY            MID 2G85C49QH63   ACNT 03I16186845-2           ICN 20139845927001   ASG Y   MOA MA67

1356334577 0515 051520 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98                      1459.92
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98           0.00       1459.92
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET         1459.92

NAME OLSEN, JEREMY            MID 2G85C49QH63   ACNT 03I16580914-2           ICN 20230855617001   ASG Y   MOA MA67

1356334577 0812 081220 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98                      1459.92
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98           0.00       1459.92
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET         1459.92

NAME OLSEN, JEREMY            MID 2G85C49QH63   ACNT 03I17035437-2           ICN 20330841967001   ASG Y   MOA MA67

1356334577 1123 112320 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98                      1459.92
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98           0.00       1459.92
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET         1459.92

NAME OLSEN, JEREMY            MID 2G85C49QH63   ACNT 03I17626321-2           ICN 21076836253001   ASG Y   MOA MA67

1356334577 0310 031021 12     90.0 E1399 GXCC         1824.90      1824.90     0.00   364.98                      1459.92
PT RESP            364.98            CLAIM TOTALS     1824.90     1824.90      0.00     364.98           0.00       1459.92
ADJ TO TOTALS: PREV PD         0.00      INTEREST        0.00                LATE FILING CHARGE     0.00    NET         1459.92
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            PERF PROV   SERV DATE   POS   NOS   PROC   MODS      BILLED     ALLOWED   DEDUCT    COINS    GRP/RC-AMT   PROV PD




            GLOSSARY:   Group, Reason, MOA, Remark and Adjustment Codes
            CO          Contractual obligations
            OA          Other adjustment
            PR          Patient responsibility
            151         Payment adjusted because the payer deems the information submitted does
                        not support this many/frequency of services.
            23          The impact of prior payer(s) adjudication including payments and/or
                        adjustments. (Use only with Group Code OA)
            253         Sequestration - reduction in federal payment.
            45          Charge exceeds fee schedule/maximum allowable or contracted/legislated
                        fee arrangement. Usage: This adjustment amount cannot equal the total
                        service or claim charge amount; and must not duplicate provider
                        adjustment amounts (payments and contractual reductions) that have
                        resulted from prior payer(s) adjudication.
            50          These are non-covered services because this is not deemed a 'medical
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               NPI:          1356334577                                                                         REMITTANCE
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            GLOSSARY: Group, Reason, MOA, Remark and Adjustment Codes
                      necessity' by the payer. Usage: Refer to the 835 Healthcare Policy
                      Identification Segment (loop 2110 Service Payment Information REF), if
                      present.
            96        Non-covered charge(s). Usage: Refer to the 835 Healthcare Policy
                      Identification Segment (loop) 2110 Service Payment Information REF), if
                      present.
            M25       The information furnished does not substantiate the need for this level of service.
                      If you believe the service should have been fully covered as billed, or if you did not
                      know and could not reasonably have been expected to know that we would not pay for this
                      level of service or if you notified the patient in writing in advanc that we would not
                      pay for this leve of service and he/she agreed in writing to pay, ask us to review your
                      claim within 120 days of the date of this notice. If you do not request an appeal, we
                      will, upon application from the patient, reimburse him/her for the amount you have
                      collected from him/her in excess of any deductible and coinsurance amounts. We will
                      recover the reimbursement from you as an overpayment.
            M38       Alert: The patient is liable for the charges for this service as they
                      were informed in writing before the service was furnished that we would
                      not pay for it and the patient agreed to be responsible for the
                      charges.
            N115      This decision was based on a Local Coverage Determination (LCD). An LCD provides
                      a guide to assist in determining whether a particular item or service is covered.
                      A copy of this policy is available at www.cms.gov/mcd, or if you do not have web
                      access, you may contact the contractor to request a copy of the LCD.
            N425      Statutorily excluded service(s).
            N782      Alert: Patient is a Medicaid/Qualified Medicare Beneficiary. Review
                      your records for any wrongfully collected coinsurance. This amount may
                      be billed to a subsequent payer.
            N809      Alert: The fee schedule amount for this service was adjusted based on
                      prior competitive bidding rates. For more information, contact your
                      local contractor.
            MA01      Alert: If you do not agree with what we approved for these services, you may appeal our decision.
                      To make sure that we are fair to you, we require another individual that did not process your
                      your initial claim to conduct the appeal. However, in order to be eligible for an appeal,
                      you must write to us within 120 days of the date of this notice, unless you have good reason for
                      for being late.
            MA02      If you do not agree with this determination, you have the right to appeal. You must file a
                      written request for an appeal within 180 days of the date you receive this notice.
            MA07      Alert: The claim information has also been forwarded to Medicaid for
                      review.
            MA13      Alert: You may be subject to penalties if you bill the patient for amounts not
                      reported with the PR (patient responsibility) group code.
            MA18      Alert: The claim information is also being forwarded to the patient's supplemental insurer. Send any
                      questions regarding supplemental benefits to them.
            MA67      Alert: Correction o a prior claim.
